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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

------------------------------------------------------X

UNITED STATES OF AMERICA,

         – against –
                                                          Docket No. 21-CR-00222 (TFH)
JULIAN ELIE KHATER,

                 Defendant.

------------------------------------------------------X

                          UNOPPOSED MOTION TO CONTINUE TRIAL
                              AND RESET MOTION SCHEDULE

         Defendant Julian Elie Khater, through his counsel, Tacopina Seigel & DeOreo, respectfully

submits this motion to request, with the consent of the Government and co-counsel, that the schedule

presently in effect for trial and pre-trial motions be extended. Notably, this request is made to afford

the parties additional time to continue their meaningful discussions about a potential resolution of

this matter.

         By way of background, Mr. Khater previously filed his pretrial motions on February 24,

2022, and co-defendant George Tanios did so on March 16, 2022. The Government is scheduled to

respond by this Thursday, March 31st, with defense replies due on of before April 11th. And trial is

scheduled to begin on June 6, 2022.

         Notwithstanding the foregoing, the defense has had meaningful discussions with the

Government about a potential resolution of this matter, and is hopeful that such discussions may

conclude successfully, so as to obviate the need for a trial. And, significantly, if that were to occur,

it would not only avoid the unnecessary expenditure of judicial resources but avoid officers, and their

family members, involved in the events of January 6th from having to bear the emotional toll of a

trial.
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        Because of sensitivities relating to this unique matter, and the nature of the adversarial

process itself, we submit that continuing the trial and resetting the current motion schedule will

substantially facilitate the parties ability to reach an appropriate resolution of this case. To that end,

the defense respectfully asks that the Court reset the dates for motions and trial, with the

understanding that all parties will be available to proceed in October or anytime thereafter that is

convenient to the Court.

        Additionally, so that the Court may select adjourn dates with the parties, we request that a

status hearing be held for that purpose.

        As referenced above, Assistant United States Attorneys Anthony Scarpelli and Gilead Light,

along with Beth Gross, Esq., attorney for co-defendant George Tanios, all agree that the requested

relief is in the best interest of judicial economy, the parties, and the public. Accordingly, the defense

would consent to the exclusion of speedy trial time, pursuant to 18 U.S.C. § 3161(h)(7)(A) and

(h)(7)(B)(iv), given that the ends of justice served based on the granting on this requested

continuance would outweigh the best interests of the public and the defendants in a speedy trial.

        WHEREFORE, Mr. Khater, with the consent of the Government and co-counsel, respectfully

requests that the Court reset the motion and trial schedule, and hold a status hearing for the purpose

of selecting such adjourn dates.

DATED this 28th day of March, 2022.


         /s/ Joseph Tacopina                              /s/ Alvin H. Thomas, Jr.
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                               CERTIFICATION OF SERVICE

       I hereby certify that on March 28, 2022, I electronically filed the foregoing with

the Clerk of the Court for the United States District Court for the District of Columbia,

which will send notification of such filing to the following CM/ECF user:


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